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United States District Court

Southern District of Florida

MIAMI DIVISION
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. Case Number: 07-20584-CR-UNGARO

STEVEN HARTSFIELD
USM Number: 78840-004

Counsel For Defendant: Israel Encinosa, Esq.
Counsel For The United States: David Haimes, AUSA
Court Reporter: William Romanishin

 

The defendant was foundguilty to Count(s) Three, Four, Five and Six of the Indictment.
The defendant is adjudicated guilty of the following offense(s):

TITLE/SECTION NATURE OF
NUMBER OFFENSE OFFENSE ENDED COUNT
Title 18 USC 1951(a) Conspiracy to obstruct, 3/20/07 Three
delay and affect
commerce by means of
robbery
Title 18 USC 1951(a) Attempt to obstruct, delay 7/13/07 Four

and affect commerce by
means of robbery

Title 18 USC Carrying a firearm during 7/13/07 Five
924(c)(1)(A) and in relation to a crime

of violence and drug

trafficking crime

Title 18 USC 922(g)(1) Possession of a firearm 7/13/07 Six

by a convicted felon

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

All remaining count(s) are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any material
changes in economic circumstances.

Date of Imposition of Sentence:
1/31/2008

lucebalen gers

URSULA UNGARO Y
United States District Judge

January / , 2008
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DEFENDANT: STEVEN HARTSFIELD
CASE NUMBER: 07-20584-CR-UNGARO

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
atemof360 months. This term consists of 240 months as Three and
Four to be served concurrently; 180 months as to Count Six (which
shall be served as follows: 120 months concurrent to Counts
Three and Four and 60 months consecutive to Counts Three and
Four); and 60 months as to Count Five to be served consecutively
to all other counts.

The Court makes the following recommendations to the Bureau of Prisons:
A facility w/ a drug program

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal
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DEFENDANT: STEVEN HARTSFIELD
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release fora termof five years.
This term consists of three years as to Counts Three and Four, and five years
as to Counts Five and Six, to run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the

defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

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The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a
truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;

7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or

administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
person convicted of a felony unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
law enforcement officer;

12. The defendant shail not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: STEVEN HARTSFIELD
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

The defendant shall participate in an approved treatment program for mental health/substance abuse and abide by
all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment. The defendant
will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party
payment.

The defendant shall maintain full-time, legitimate employment and not be unemployed for a term of more
than 30 days unless excused for schooling, training or other acceptable reasons. Further, the defendant shall provide
documentation including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earnings Statements,
and other documentation requested by the U.S. Probation Officer.

Self-Employment Restriction: The defendant shall obtain prior written approval from the Court before entering into
any self-employment.

Permissible Search: The defendant shall submit to a search of his/her person or property conducted in a reasonable
manner and at a reasonable time by the U.S. Probation Officer.
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DEFENDANT: STEVEN HARTSFIELD
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

Total Assessment Total Fine Total Restitution

$400.00 $ $

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A. Lump sum payment of $ due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed
to:

U.S. CLERK’S OFFICE

ATTN: FINANCIAL SECTION

301 N. MIAMI AVENUE, ROOM 150
MIAMI, FLORIDA 33128

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office
and the U.S. Attorney’s Office are responsible for the enforcement of this order.

Forfeiture of the defendant’s right, title and interest in certain property is hereby ordered consistent with the
plea agreement of forfeiture. The United States shall submit a proposed order of forfeiture within three days of this
proceeding.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution
and court costs.
